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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

  SYMBOLOGY INNOVATIONS, LLC,                    §
      Plaintiff,                                 §
                                                 §
  v.
                                                 §           Civil Action No. 2:15-cv-01169
  ADAM’S EXTRACT,                                §              LEAD CASE
      Defendant.                                 §
                                                 §
  SYMBOLOGY INNOVATIONS, LLC,                    §
       Plaintiff,                                §
                                                 §
  v.
                                                 §           Civil Action No. 2:15-cv-01182
  STATE FARM MUTUAL AUTOMOBILE                   §
  INSURANCE COMPANY,                                            Consolidated Case
                                                 §
       Defendant.                                §
                                                 §

        DEFENDANT STATE FARM’S NOTICE OF DISCOVERY DISCLOSURES

         PLEASE TAKE NOTICE that, in accordance with the Discovery Order (Dkt. 101)

  defendant State Farm Mutual Automobile Insurance Company (“State Farm”), by and through its

  undersigned counsel, has served the following discovery materials.

            Amended Initial Disclosures

            Documents relevant to claims and defenses (served on Symbology)

            Copies of documents identified by and produced by Ricoh Innovations

             pursuant to State Farm’s subpoena

            Copies of documents produced by The Library of Congress
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        Dated: March 7, 2016               Respectfully submitted,

                                           SLAYDEN GRUBERT BEARD PLLC


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                                           COUNTERCLAIM-PLAINTIFF STATE FARM
                                           MUTUAL AUTOMOBILE INSURANCE CORP.



                          CERTIFICATE OF SERVICE

        Today I have served a copy of this document electronically via the Court’s CM/ECF

  system.



                                                   /s/ Truman H. Fenton
                                                   Truman H. Fenton
